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                               UNITED STATES DISTRICT COURT
                               EASTERN DISTRICT OF MISSOURI
                                     EASTERN DIVISION

 ELLIOT WINTER, et al.,                           )
                                                  )
             Plaintiff(s),                        )
                                                  )
        v.                                        )        No. 4:21-CV-01046-NCC
                                                  )
 FACEBOOK, INC., et al.,                          )
                                                  )
             Defendant(s).                        )
                                                  )

                                            ORDER

       Pursuant to Local Rule 2.08, a request has been received for random reassignment of this

case to a District Judge.

      IT IS HEREBY ORDERED that the above styled cause is randomly reassigned from

Magistrate Judge Noelle C. Collins to District Judge John A. Ross.

August 27, 2021                                Gregory J. Linhares                   /
Date                                           Clerk of Court

                                         By: /s/ Carol Long               /
                                             CAROL LONG
                                             Deputy Clerk


In all future documents filed with the Court, please use the following case number:
4:21-CV-01046-JAR
